929 F.2d 693Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Linwood MCLAUGHLIN, Plaintiff-Appellant,v.COUNTY OF HENRICO;  Donald L. Boswell, Sheriff, Defendants-Appellees.
    No. 90-7143.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 20, 1990.Decided March 21, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, District Judge.  (CA-90-1089-N)
      Linwood McLaughlin, appellant pro se.
      John Adrian Gibney, Jr., Shuford, Rubin, Gibney &amp; Dunn, Richmond, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before PHILLIPS, MURNAGHAN and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Linwood McLaughlin appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  McLaughlin v. County of Henrico, CA-90-1089-N (E.D.Va. Sept. 14, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    